

People v Sanders (2017 NY Slip Op 09028)





People v Sanders


2017 NY Slip Op 09028


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, LINDLEY, NEMOYER, AND TROUTMAN, JJ.


1407 KA 16-00637

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vANTOINE SANDERS, DEFENDANT-APPELLANT. 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (NICHOLAS P. DIFONZO OF COUNSEL), FOR DEFENDANT-APPELLANT. 
JOHN J. FLYNN, DISTRICT ATTORNEY, BUFFALO (DONNA MILLING OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Christopher J. Burns, J.), rendered April 28, 2015. The judgment convicted defendant, upon his plea of guilty, of robbery in the first degree (five counts) and criminal possession of a weapon in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








